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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK

 JANE DOES 1-12
                     Plaintiffs,
       v.                                    Case No.: 2:21-cv-03964-JMA-ARL

 LIBERTY UNIVERSITY, INC.

                                   STATUS REPORT


      On or about December 28, 2021, this Court ordered Plaintiffs to file a status report

not later than February 14, 2022; this Report responds to that Order.

      Plaintiffs are Jane Does 1-through-12, and are former Liberty University students

and/or employees, each of whom allege violations of Title IX while at Liberty University.

Their Complaint was filed on or about July 20, 2021, and the filed Complaint was

communicated to Liberty University’s General Counsel on or about the same day. Since

that time, additional victims have come forward and, as noted in the October 14, 2021

Status Report, it is likely that, if the case does not resolve amicably, a First Amended

Complaint would be filed on behalf of Jane Does 1-through-22, including one current

student at Liberty University. On January 12, 2022, the parties entered into a tolling

agreement to preserve the rights of the non-party claimants without the immediate

necessity of filing a First Amended Complaint.

      Since the October 14, 2021 Status Report was filed by undersigned counsel, the

parties and non-party claimants have made significant strides toward a settlement. The

two sides have agreed preliminarily on a list of subjects to discuss with respect to the

policy changes sought by the plaintiffs and non-party claimants; the Hon. Lawrence F.
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Stengel, (Ret.) has also been agreed to by both sides to act as a mediator, has conferred

with both sides, and is preliminarily engaged to mediate the case (the parties are in the

process of reducing the engagement to writing, which is anticipated to occur this week.)

Because of the multiplicity of policy issues to discuss, and the number of plaintiffs and

non-party claimants, both sides are targeting a series of mediations to occur between

March and May of 2022.

      It is accordingly respectfully requested that this matter be placed on standby or

the parties otherwise permitted to explore an amicable resolution for a period of four-

months.

                                               Respectfully submitted:




Date: February 14, 2022
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 JANE DOES 1-12
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                                        CERTIFICATE OF SERVICE

      I, Jack Larkin, counsel for Plaintiffs Jane Doe 1-through-12, certify that I have this-

day served a copy of the foregoing Status Report on Liberty University, Inc., by filing a

copy, electronically, through the ECF/PACER filing system, and by mailing a copy,

postage        pre-paid,    to    the     below   address,    and   by   emailing   a   copy   to

candace.mclaren@saul.com.

                                      Liberty University, Inc.,
                                 c/ o
                                    Candace McLaren Lanham, Esq.
                                 Saul Ewing Arnstein & Lehr LLP
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Date: February 14, 2022
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